          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                           1:09CR47-3

UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )              ORDER
                                                      )
FRANK EDWARD WHITLOCK.                                )
__________________________________                    )

      THIS MATTER is before the court upon defendant’s Motion for

Consideration of Temporary Bond. It appearing that defendant’s mother is in the

final stages of a terminal illness and has been admitted to Hospice, the court finds that

an exceptional circumstance has been shown for temporary release from custody.

Defendant will, therefore, be returned to his Bond and all conditions previously

provided for the duration of his mother’s illness and any funeral or memorial service

that may follow. Defendant shall keep his Pretrial Services Officer advised on a daily

basis of his mother’s condition and his planned activities for the day. Defendant is

advised that his activities while on release need to be centered on providing his

mother with companionship and comfort at Hospice, as well as making any final

arrangements; otherwise, the court will promptly revoke such release. After events

have transpired, the Pretrial Services Officer shall file a Motion for Return to Custody

and defendant shall report to court as instructed by his Pretrial Services Order and/or

his attorney. Having considered defendant’s Motion for Consideration of Temporary


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Bond and reviewed the pleadings, and it appearing that good cause has been shown

for the relief sought, the court enters the following Order.




                                      ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion for Consideration

of Temporary Bond (#41) is GRANTED, and defendant is TEMPORARILY

released from pretrial detention under the bond and conditions previously provided

and the additional conditions found in this Order.



                                          Signed: January 7, 2010




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